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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 JOHN A. KNOX, individually, and on behalf
 of all others similarly situated
                                                     Case No. 1:21-cv-00885-SEB-MJD
 Plaintiff,

 v.

 GLA COLLECTION COMPANY, INC.,

 Defendant.

                                 NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that JOHN A. KNOX (“Plaintiff”) and GLA COLLECTION

COMPANY, INC. (“Defendant”), hereby notify the Court the parties have reached settlement, and

are in the process of completing the settlement agreement and filing dismissal papers. The parties

anticipate filing dismissal papers within 45 days.



 DATED: December 17, 2021                            Respectfully submitted,

                                                     JOHN A. KNOX

                                                     By: /s/ Mohammed O. Badwan

                                                     Mohammed O. Badwan
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